     Case 2:20-cv-01830-GMN-NJK Document 3 Filed 11/05/20 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA
10

11    GIOVANNI KOHLER KURTZE,                          Case No. 2:20-cv-01830-GMN-NJK
12                       Petitioner,                   ORDER
13            v.
14    CALVIN JOHNSON, et al.,
15                       Respondents.
16

17          This is a habeas corpus action under 28 U.S.C. § 2254. Petitioner Giovanni Kohler Kurtze

18   has filed an application to proceed in forma pauperis (ECF No. 1) and a petition for a writ of

19   habeas corpus. The court finds that Kurtze is unable to pay the filing fee. The court has reviewed

20   the petition under Rule 4 of the Rules Governing Section 2254 Cases in the United States District

21   Courts. Kurtze will need to file an amended petition.

22          Kurtze used this court's habeas corpus petition form. The form contains 9 pages.

23   However, Kurtze sent the court only the first 7 pages. This is important because under 28 U.S.C.

24   § 2242 and Rule 2(c)(5) of the Rules Governing Section 2254 Cases in the United States District

25   Courts Kurtze must sign the petition under penalty of perjury. By omitting the last 2 pages of the

26   petition form, Kurtze has not signed and verified the petition. The court will give him the

27   opportunity to correct this defect.

28
                                                       1
     Case 2:20-cv-01830-GMN-NJK Document 3 Filed 11/05/20 Page 2 of 2



 1           IT THEREFORE IS ORDERED that the application to proceed in forma pauperis (ECF
 2   No. 1) is GRANTED. Petitioner need not pay the filing fee of five dollars ($5.00).
 3           IT FURTHER IS ORDERED that the clerk of the court shall file the petition for a writ of
 4   habeas corpus pursuant to 28 U.S.C. § 2254.
 5           IT FURTHER IS ORDERED that the clerk of the court shall send petitioner a petition for
 6   a writ of habeas corpus pursuant to 28 U.S.C. § 2254 form with instructions. Petitioner shall have
 7   thirty (30) days from the date that this order is entered in which to file an amended petition to
 8   correct the noted defect. Neither the foregoing deadline nor any extension thereof signifies or
 9   will signify any implied finding of a basis for tolling during the time period established.
10   Petitioner at all times remains responsible for calculating the running of the federal limitation
11   period under 28 U.S.C. § 2244(d)(1) and timely asserting claims. Failure to comply with this
12   order will result in the dismissal of this action.
13           IT FURTHER IS ORDERED that petitioner shall clearly title the amended petition as
14   such by placing the word "AMENDED" immediately above "Petition for a Writ of Habeas
15   Corpus Pursuant to 28 U.S.C. § 2254" on page 1 in the caption, and petitioner shall place the case
16   number, 2:20-cv-01830-GMN-NJK, above the word "AMENDED."
17           IT FURTHER IS ORDERED that the clerk shall add Aaron Ford, Attorney General for
18   the State of Nevada, as counsel for respondents.
19           IT FURTHER IS ORDERED that respondents' counsel must enter a notice of appearance
20   within twenty-one (21) days of entry of this order, but no further response will be required from
21   respondents until further order of the court.
22           IT FURTHER IS ORDERED that the clerk shall provide copies of this order and all prior
23   filings to both the Attorney General and the Federal Public Defender in a manner consistent with
24   the clerk's current practice, such as regeneration of notices of electronic filing.
25           DATED: November 5, 2020
26                                                                  ______________________________
                                                                    GLORIA M. NAVARRO
27                                                                  United States District Judge
28
                                                          2
